UNITED STATES DIsTRICT CoURT
MlDDLE DIsTRlCT oF NoRTH CARoLINA

251 NORTH MAIN STREET

   
  

THoMAs D. SCHRoEDER

TELEPHONE(336) 734-2530
CHIEF UNITEI) STATES DlsTRICT JUDGE

FAx (336) 631-5000

Dear Counsel:

Dorothy Smith v. Aincol Systerns
l : l 7CV'760

The above-entitled case has been randomly selected from the combined dockets of all
district judges and administratively assigned to Magistrate Judge Webster to conduct all pretrial
proceedings, including recommendation on dispositive motions. Because of the dramatic increase
in the number of criminal cases in recent years, district judges have had to give priority to the
criminal docket as required by laW. Under these circumstances, your case can experience a
significant delay, Which can result in cost increases, before it can be tried by a district judge.
Congress’ enactment of the Civil Justice Reform Act has required the court to give increased
attention to addressing costs and delays in resolving civil disputes. The Judicial Conference of the
United States has encouraged the designation of magistrate judges to conduct all proceedings in
civil cases, both jury and non-jury.

Magistrate Judges L. Patrick Auld, Joi Elizabeth Peake, and Joe L. Webster all are Well
qualified to handle civil cases from discovery through dispositive motions and trial. Trial before
a magistrate judge, in addition to an earlier trial date, Will also enable the court to give counsel and
the parties a special setting. Appeal from a judgment entered by a magistrate judge Will 'be to the
Court of Appeals for the Fourth Circuit.

If your client, after consultation With you, consents to the trial jurisdiction of the magistrate
judge, please return the enclosed consent form to the Clerk’s Office Within thirty (3 0) days. Cases
in Which consent is not given Will nevertheless be first considered by the magistrate judge, Who
Will make rulings or recommendations on all motions, including dispositive ones. You are
required by law to communicate your decision to the Clerk. 28 U.S.C. § 636(0)(2). Accordingly,
the Clerk may contact you if you have not responded Within 30 days.

Sincerely,

/s/ Thomas D. Schroeder
Chief United States District Judge

Enclosure

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v NOTICE OF' RIGHT TO CONSENT TO THE
EXERCISE OF CIVIL IURISDIC'I'ION BY A MA,.GIS'I`RATE JUDGE

ln accordance,.yvith the provisions of ~'l`itle 28 U.S.C.» § 636(c)‘, you are hereby notified
that a United Stat`es magistrate judge of this district court is available to exercise the courts
jurisdiction and to conduct any or all proceedings in this case including a jury or nonjury
trial, and entry of a final judgment E!ercise of this jurisdiction by a magistrate judge is,

however,'permitted only if all parties voluntarily consent

~Ybu niay;“,ithout adverse gubgrantive consequences withhold your consent,'but-this~"~~ '~ ~- ~ ~-

will prevent the court’s jurisdiction from being exercised by a magistrate judge lt any '
party withholdscousent, the identity of the parties consenting or withholding consent yrill
not be communicated to any magistrate judge or to the district judge to_whoni the case has
been assigned .

An appeal from a judgment entered by a magistrate judge may be taken directly to
the United States.court of appeals for this judicial circuit in the same manner as any appeal
vfrom~any other judgment of a district court

Copies of the Form for the “Conseut to Jurisdiction by a United States Magistrate

.ludge’; are available from the clerk of court

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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

DOROTHY SMITH, )
Plaintiff, §

v. j Docket No: 1:17CV760
AMCOL SYSTEMS, ))
Defendant. §

CONSENT TO JURISDICTION BY A
UNITED STATES M_AGISTRATE JUDGE
In accordance With the provisions of Title 28 U.S.C. § 636(c), the undersigned party or
parties to the above-captioned civil matter hereby voluntarily consent to have a United States
magistrate judge conduct any and all further proceedings in the case, including trial, entry of
a final judgment, and ruling on post-judgment matters. An appeal from a judgment entered
by a magistrate judge may be taken directly to the United States court of appeals for this

` judicial circuit in the same manner as any appeal from any other judgment of a district court.

 

 

Date Signature

 

 

Date Signature

NOTE: Return this form to the Clerk of the Court if you consent to jurisdiction by a
magistrate judge. Do not send a copy of this form to any district judge or magistrate judge.

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